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Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                                District of Maryland


         In re:   Nicholas Allen White                                              Case No.
                      Debtor                                                                                   (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.
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Official Form 1, Exh. D (10/06) – Cont.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Nicholas Allen White
                     Nicholas Allen White

Date: 12/13/2006
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Form 202 (08/06)

                                             United States Bankruptcy Court
                                                      District of Maryland


In re:   Nicholas Allen White                                                     Case No.
                                                                                  Chapter               7


                                         STATEMENT OF MILITARY SERVICE

           The Servicemembers’ Civil Relief Act of 2003, Pub. L. No. 108-189, provides for the temporary suspension
of certain judicial proceedings or transactions that may adversely affect military servicemembers, their dependents,
and others. Parties to a bankruptcy case who might be eligible for relief under the act should complete this form
and file it with the Bankruptcy Court.

IDENTIFICATION OF SERVICEMEMBER
       Self (Debtor, Codebtor, Creditor, Other)
       Non-Filing Spouse of Debtor (name)
       Other (Name of servicemember)
                (Relationship of filer to servicemember)
                (Type of liability)

TYPE OF MILITARY SERVICE
U.S. Armed Forces (Army, Navy, Air Force, Marine Corps, or Coast Guard) or commissioned officer of the Public
Health Service or the National Oceanic and Atmospheric Administration (specify type of service)

          Active Service since                                                                                                    (date)
          Inductee - ordered to report on                                                                                         (date)
          Retired / Discharged                                                                                                    (date)

U.S. Military Reserves and National Guard
          Active Service since                                                                                                    (date)
          Impending Active Service - orders postmarked                                                                            (date)
                    Ordered to report on                                                                                          (date)
          Retired / Discharged                                                                                                    (date)

U.S. Citizen Service with U.S. ally in war or military action (specify ally and war or action)

          Active Service since                                                                                                    (date)
          Retired / Discharged                                                                                                    (date)

DEPLOYMENT
      Servicemember deployed overseas on                                                                                          (date)
      Anticipated completion of overseas tour-of-duty                                                                             (date)

SIGNATURE
s/ Nicholas Allen White                                                                  12/13/2006
Nicholas Allen White                                                                     Date
This statement is for information use only. Filing this statement with the Bankruptcy Court does not constitute an application for or invoke
the benefits and relief available under the Servicemembers’ Civil Relief Act of 2003.
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       Amit Ragvanshi, MD
       c/o American Collections Center
       6094 Franconia Road, Suite B
       Alexandria, VA 23310-4433


       Bank of America
       P.O. Box 27025
       Richmond, VA 23261-7025




       Capital One Bank
       P.O. Box 85184
       Richmond, VA 23285




       Discover
       PO Box 15251
       Wilmington, DE      19886-5251




       Federal Bond & Collection
       841 E. Hunting Park Ave.
       Philadelphia, PA 19124-4824




       First USA Bank
       P.O. Box 15153
       Wilmington, DE      19886




       Gold Key Credit
       625 US Highway 1
       Key West, FL 33040




       Perouka & Perouka
       8028 Ritchie Highway
       Pasadena, MD 21122




       Suburban EKG
       c/o Commonwealth Info Services
       PO Box 6610
       Newport News, VA 23606-0610
Case 06-18109   Doc 1   Filed 12/13/06   Page 5 of 41
       Verizon Wireless
       7600 Montpelier Road
       Laurel, MD 20723
                                Case 06-18109         Doc 1      Filed 12/13/06        Page 6 of 41

                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MARYLAND


In re:   Nicholas Allen White                                                            Case No.
                                            Debtor
                                                                                          Chapter 7


                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 2 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:    12/13/2006                                         Signed: s/ Nicholas Allen White
                                                                              Nicholas Allen White



         Signed:   Brian E. Barkley
                   Brian E. Barkley
                   Attorney for Debtor(s)
                   Bar no.:        03067
                   Barkley & Kennedy, Chartered
                   51 Monroe Street, Suite 1407
                   Rockville, Maryland 20850
                   Telephone No.:  301-251-6600
                   Fax No.:        301-762-2606
                   E-mail address: bbarkley@barkenlaw.com
                                              Case 06-18109                   Doc 1           Filed 12/13/06                 Page 7 of 41
Official Form 1 (10/06)
                                    United States Bankruptcy Court                                                                               Voluntary Petition
                                          District of Maryland
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   White, Nicholas Allen
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

 Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,             Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,
 state all):                                                                                     state all):
   1431
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   10907 Whiterim Drive
   Potomac, MD
                                                            ZIP CODE          20854                                                                           ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
 Montgomery
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                            ZIP CODE                                                                                          ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                         Nature of Business                                 Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)                              Health Care Business                                 Chapter 7                           Chapter 15 Petition for
                                                                     Single Asset Real Estate as defined in 11                                                Recognition of a Foreign
       Individual (includes Joint Debtors)                                                                                Chapter 9
       See Exhibit D on page 2 of this form.                         U.S.C. § 101(51B)                                                                        Main Proceeding
                                                                     Railroad                                             Chapter 11
       Corporation (includes LLC and LLP)                                                                                                                     Chapter 15 Petition for
                                                                     Stockbroker                                          Chapter 12                          Recognition of a Foreign
       Partnership
                                                                     Commodity Broker                                     Chapter 13                          Nonmain Proceeding
       Other (If debtor is not one of the above entities,
       check this box and state type of entity below.)               Clearing Bank
                                                                                                                                              Nature of Debts
       ________________________                                      Other                                                                      (Check one box)
                                                                             Tax-Exempt Entity                           Debts are primarily consumer                  Debts are primarily
                                                                           (Check box, if applicable)                    debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                       Debtor is a tax-exempt organization               individual primarily for a
                                                                       under Title 26 of the United States               personal, family, or house-
                                                                       Code (the Internal Revenue Code.)                 hold purpose.”
                                 Filing Fee (Check one box)                                                                            Chapter 11 Debtors
                                                                                                       Check one box:
     Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must attach                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     signed application for the court's consideration certifying that the debtor is                    Check if:
     unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2 million.
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Official Form 3B.                    Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                          THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 1-         50-        100-            200-        1,000-        5,001-      10,001-       25,001-      50,001-       Over
 49         99         199             999         5,000         10,000      25,000        50,000       100,000       100,000

 Estimated Assets
     $0 to                      $10,000 to                  $100,000 to                $1 million to                More than $100 million
     $10,000                    $100,000                    $1 million                 $100 million
 Estimated Liabilities
     $0 to                      $50,000 to                  $100,000 to                $1 million to                More than $100 million
     $50,000                    $100,000                    $1 million                 $100 million
                                             Case 06-18109                     Doc 1           Filed 12/13/06                 Page 8 of 41
Official Form 1 (10/06)                                                                                                                                                      FORM B1, Page 2
Voluntary Petition                                                                               Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Nicholas Allen White

                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X Brian E. Barkley                                         12/13/2006
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Brian E. Barkley                                      03067
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                       Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                  (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).


                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.
                                            Case 06-18109                    Doc 1            Filed 12/13/06               Page 9 of 41
Official Form 1 (10/06)                                                                                                                                                FORM B1, Page 3
Voluntary Petition                                                                             Name of Debtor(s):
  (This page must be completed and filed in every case)                                        Nicholas Allen White

                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                       Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true      I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                   and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has               and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such         (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I              Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                     Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified          Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                   order granting recognition of the foreign main proceeding is attached.

   X s/ Nicholas Allen White                                                                   X Not Applicable
       Signature of Debtor         Nicholas Allen White                                            (Signature of Foreign Representative)

   X Not Applicable
       Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       12/13/2006                                                                                  Date
       Date
                                   Signature of Attorney                                                            Signature of Non-Attorney Petition Preparer
  X Brian E. Barkley                                                                           I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)
                                                                                               defined in 11 U.S.C. § 110; (2) 1 prepared this document for compensation and have
                                                                                               provided the debtor with a copy of this document and the notices and information
      Brian E. Barkley, 03067                                                                  required under 11 U.S.C. §§110(b), 110(h), and 342(b); and, (3) if rules or
      Printed Name of Attorney for Debtor(s) / Bar No.                                         guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
                                                                                               fee for services chargeable by bankruptcy petition prepares, I have given the debtor
      Barkley & Kennedy, Chartered                                                             notice of the maximum amount before preparing any document for filing for a debtor
                                                                                               or accepting any fee from the debtor, as required in that section. Official Form 19B
      Firm Name                                                                                is attached.
      51 Monroe Street, Suite 1407 Rockville, Maryland 20850
      Address                                                                                      Not Applicable
                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer


     301-251-6600                                                       301-762-2606               Social Security number(If the bankruptcy petition preparer is not an individual,
      Telephone Number                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                                   partner of the bankruptcy petition preparer.)(Required by 11 U.S.C. 110.)
      12/13/2006
      Date

                  Signature of Debtor (Corporation/Partnership)                                    Address
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.                                                                                       X Not Applicable
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                                   Date
                                                                                                  Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
 X Not Applicable                                                                                 partner whose social security number is provided above.
     Signature of Authorized Individual
                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in
                                                                                                  preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual                                                        individual:

                                                                                                 If more than one person prepared this document, attach additional sheets conforming
     Title of Authorized Individual                                                              to the appropriate official form for each person.

                                                                                                 A bankruptcy petition preparer 's failure to comply with the provisions of title 11 and
      Date                                                                                       the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both
                                                                                                 11 U.S.C. §110; 18 U.S.C. §156.
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FORM B6A
(10/05)

In re:   Nicholas Allen White                                      ,
                                                                                                                    Case No.
                                                                                                                                                  (If known)
                                            Debtor




                                    SCHEDULE A - REAL PROPERTY




                                                                                HUSBAND, WIFE, JOINT
                                                                                                                    CURRENT VALUE
                                                                                                                     OF DEBTOR'S




                                                                                  OR COMMUNITY
                                                                                                                      INTEREST IN
               DESCRIPTION AND                                                                                    PROPERTY, WITHOUT                      AMOUNT OF
                                                  NATURE OF DEBTOR'S                                                DEDUCTING ANY
                 LOCATION OF                                                                                                                              SECURED
                                                 INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                                 CLAIM
                                                                                                                     OR EXEMPTION




                                                                        Total                                                              0.00
                                                                                                       (Report also on Summary of Schedules.)
                                         Case 06-18109            Doc 1      Filed 12/13/06        Page 11 of 41
FormB6B
(10/05)

In re    Nicholas Allen White                                                                        Case No.
                                                                                    ,
                                                                                                                                       (If known)
                                                               Debtor




                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                       CURRENT VALUE OF




                                                                                                                  OR COMMUNITY
                                                                                                                                       DEBTOR'S INTEREST
                                                                                                                                       IN PROPERTY, WITH-

                                                   NONE
                                                                        DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
             TYPE OF PROPERTY                                                 OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                          OR EXEMPTION




   1. Cash on hand                                        Cash on Hand                                                                                 10.00

   2. Checking, savings or other financial                PNC Bank - Checking                                                                       11,333.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


   3. Security deposits with public utilities,            Mr. Soong - Landlord                                                                        540.00
      telephone companies, landlords, and
      others.


   4. Household goods and furnishings,                    LIVING ROOM: chair; lamp                                                                     12.00
      including audio, video, and computer
      equipment.


   5. Books, pictures and other art objects,       X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                                    MEN'S CLOTHING: baseball caps; overcoat; pants,                                              80.00
                                                          shirts, socks, suits, ties
   7. Furs and jewelry.                            X

   8. Firearms and sports, photographic, and       X
      other hobby equipment.


   9. Interests in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each              X
     issuer.


 11. Interests in an education IRA as defined      X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c); Rule
     1007(b)).


 12. Interests in IRA, ERISA, Keogh, or other      X
     pension or profit sharing plans. Give
     Particulars.
                                          Case 06-18109      Doc 1         Filed 12/13/06       Page 12 of 41
Form B6B-Cont.
(10/05)

In re   Nicholas Allen White                                                                      Case No.
                                                                                  ,
                                                                                                                                    (If known)
                                                           Debtor




                                          SCHEDULE B - PERSONAL PROPERTY
                                                                    (Continuation Sheet)




                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                    CURRENT VALUE OF




                                                                                                               OR COMMUNITY
                                                                                                                                    DEBTOR'S INTEREST
                                                                                                                                    IN PROPERTY, WITH-

                                                    NONE
                                                                     DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
            TYPE OF PROPERTY                                               OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                       OR EXEMPTION




 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.


 14. Interests in partnerships or joint             X
     ventures. Itemize.


 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.


 16. Accounts receivable.                           X

 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.


 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.


 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining
     a product or service from the debtor
     primarily for personal, family, or
     household purposes.
                                       Case 06-18109           Doc 1        Filed 12/13/06       Page 13 of 41
Form B6B-Cont.
(10/05)

In re   Nicholas Allen White                                                                       Case No.
                                                                                    ,
                                                                                                                                             (If known)
                                                            Debtor




                                       SCHEDULE B - PERSONAL PROPERTY
                                                                     (Continuation Sheet)




                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT VALUE OF




                                                                                                                        OR COMMUNITY
                                                                                                                                             DEBTOR'S INTEREST
                                                                                                                                             IN PROPERTY, WITH-

                                                NONE
                                                                      DESCRIPTION AND LOCATION                                               OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                OF PROPERTY                                                         SECURED CLAIM
                                                                                                                                                OR EXEMPTION




 25. Automobiles, trucks, trailers, and other   X
     vehicles and accessories.


 26. Boats, motors, and accessories.            X

 27. Aircraft and accessories.                  X

 28. Office equipment, furnishings, and         X
     supplies.


 29. Machinery, fixtures, equipment and         X
     supplies used in business.


 30. Inventory.                                 X

 31. Animals.                                   X

 32. Crops - growing or harvested. Give         X
     particulars.


 33. Farming equipment and implements.          X

 34. Farm supplies, chemicals, and feed.        X

 35. Other personal property of any kind not    X
     already listed. Itemize.



                                                       2   continuation sheets attached                       Total                                       $ 11,975.00

                                                                                                                  (Include amounts from any continuation sheets
                                                                                                                  attached. Report total also on Summary of
                                                                                                                  Schedules.)
                                  Case 06-18109               Doc 1        Filed 12/13/06        Page 14 of 41
Form B6C
(10/05)

In re     Nicholas Allen White                                                                         Case No.
                                                                                          ,
                                                                                                                               (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                $125,000.
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                               VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                               CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                              EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                            EXEMPTION


Cash on Hand                                Md. Code Ann., Cts. & Jud. Proc.                           10.00                                  10.00
                                            §11-504(f)
LIVING ROOM: chair; lamp                    Md. Code Ann., Cts. & Jud. Proc.                           12.00                                  12.00
                                            §11-504(b)(4)
MEN'S CLOTHING: baseball                    Md. Code Ann., Cts. & Jud. Proc.                           80.00                                  80.00
caps; overcoat; pants, shirts,              §11-504(b)(4)
socks, suits, ties
Mr. Soong - Landlord                        Md. Code Ann., Cts. & Jud. Proc.                         540.00                                  540.00
                                            §11-504(b)(4)
PNC Bank - Checking                         Md. Code Ann., Cts. & Jud. Proc.                      11,333.00                                11,333.00
                                            §11-504(b)(2
                                 Case 06-18109                               Doc 1                Filed 12/13/06    Page 15 of 41
Official Form 6D (10/06)

 In re Nicholas Allen White                                                                            ,           Case No.
                                                 Debtor                                                                                                           (If known)


                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                              HUSBAND, WIFE, JOINT
             CREDITOR'S NAME AND                                                                 DATE CLAIM WAS                                                    AMOUNT OF
                                                                                                                                                                                              UNSECURED




                                                                                                                                      UNLIQUIDATED
                                                                OR COMMUNITY
               MAILING ADDRESS                                                                  INCURRED, NATURE                                                  CLAIM WITHOUT




                                                                                                                         CONTINGENT
                                                   CODEBTOR
                                                                                                                                                                                              PORTION, IF




                                                                                                                                                     DISPUTED
           INCLUDING ZIP CODE AND                                                                  OF LIEN, AND                                                     DEDUCTING
             AN ACCOUNT NUMBER                                                                   DESCRIPTION AND                                                     VALUE OF                    ANY
            (See Instructions, Above.)                                                         VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                 SUBJECT TO LIEN


ACCOUNT NO.
                                                                                     __________________________
                                                                                     VALUE




 0      continuation sheets
        attached
                                                                                     Subtotal
                                                                                     (Total of this page)
                                                                                                                                                                  $                 0.00 $                0.00
                                                                                     Total                                                                        $                 0.00 $                0.00
                                                                                     (Use only on last page)

                                                                                                                                                                (Report also on Summary of (If applicable, report
                                                                                                                                                                Schedules)                 also on Statistical
                                                                                                                                                                                           Summary of Certain
                                                                                                                                                                                           Liabilities and
                                                                                                                                                                                           Related Data.)
                                         Case 06-18109               Doc 1        Filed 12/13/06             Page 16 of 41
Official Form 6E (10/06)

In re       Nicholas Allen White                                                         ,                              Case No.
                                                                Debtor                                                                              (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
        Domestic Support Obligations

     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of
business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

    Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or
household use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                                    1 continuation sheets attached
                                       Case 06-18109                                      Doc 1           Filed 12/13/06                                       Page 17 of 41
Official Form 6E (10/06) - Cont.


In re     Nicholas Allen White                                                                                                                                              Case No.
                                                                                                                  ,                                                                                  (If known)
                                                                      Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                   HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                                AMOUNT            AMOUNT         AMOUNT




                                                                     OR COMMUNITY




                                                                                                                                                UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                        CODEBTOR




                                                                                                                                                                DISPUTED
              MAILING ADDRESS                                                                 INCURRED AND                                                                 OF CLAIM        ENTITLED TO        NOT
            INCLUDING ZIP CODE,                                                              CONSIDERATION                                                                                  PRIORITY      ENTITLED TO
           AND ACCOUNT NUMBER                                                                   FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                          ANY



 ACCOUNT NO.




                                                                                                                                  Subtotals                        $
Sheet no. 1 of 1 continuation sheets attached to Schedule of                                                          (Totals of this page)
                                                                                                                                                                               0.00 $             0.00 $          0.00
Creditors Holding Priority Claims
                                                                                                                                 Total
                                                                                          (Use only on last page of the completed
                                                                                          Schedule E. Report also on the Summary of
                                                                                                                                                                  $            0.00
                                                                                          Schedules.)
                                                                                                                                   Total
                                                                                          (Use only on last page of the completed                                                      $          0.00 $          0.00
                                                                                          Schedule E. If applicable, report also on the
                                                                                          Statistical Summary of Certain Liabilities
                                                                                          and Related Data. )
                                     Case 06-18109                      Doc 1                      Filed 12/13/06                  Page 18 of 41

Official Form 6F (10/06)
In re   Nicholas Allen White                                                                                                         Case No.
                                                                                                          ,
                                                    Debtor                                                                                                              (If known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                  Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                HUSBAND, WIFE, JOINT
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                                                                AMOUNT OF




                                                                  OR COMMUNITY




                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                           CONTINGENT
                 MAILING ADDRESS                                                                           INCURRED AND                                                                                   CLAIM




                                                     CODEBTOR




                                                                                                                                                                                         DISPUTED
               INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
              AND ACCOUNT NUMBER                                                                               CLAIM.
               (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE

ACCOUNT NO.                                                                                                                                                                                                   300.00
 Amit Ragvanshi, MD                                                                      Medical Services
 c/o American Collections Center
 6094 Franconia Road, Suite B
 Alexandria, VA 23310-4433


ACCOUNT NO.                                                                                                                                                                                                   166.00
 Bank of America                                                                         Bank Loan
 P.O. Box 27025
 Richmond, VA 23261-7025



 Federal Bond & Collection
 841 E. Hunting Park Ave.
 Philadelphia, PA 19124-4824
ACCOUNT NO.       5291152083527586                                                                                                                                                                          1,938.00
 Capital One Bank                                                                        Credit Services
 P.O. Box 85184
 Richmond, VA 23285



ACCOUNT NO.       6011003670655305                                                                                                                                                                          3,837.00
 Discover                                                                                Credit Services
 PO Box 15251
 Wilmington, DE 19886-5251




              1    Continuation sheets attached

                                                                                                                                                         Subtotal                                   $       6,241.00
                                                                                                                                                                  Total                             $
                                                                                                           (Use only on last page of the completed Schedule F.)
                                                                                       (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                              Summary of Certain Liabilities and Related Data.)
                                        Case 06-18109                  Doc 1                      Filed 12/13/06                  Page 19 of 41

Official Form 6F (10/06) - Cont.
In re     Nicholas Allen White                                                                                                      Case No.
                                                                                                         ,
                                                   Debtor                                                                                                              (If known)


          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                               HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                      DATE CLAIM WAS                                                                                AMOUNT OF




                                                                 OR COMMUNITY




                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                          CONTINGENT
                    MAILING ADDRESS                                                                       INCURRED AND                                                                                   CLAIM




                                                    CODEBTOR




                                                                                                                                                                                        DISPUTED
                  INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                           CLAIM.
                  (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE

 ACCOUNT NO.       4791338018903558                                                                                                                                                                        3,725.00
 First USA Bank                                                                         Credit Services
 P.O. Box 15153
 Wilmington, DE 19886



 Perouka & Perouka
 8028 Ritchie Highway
 Pasadena, MD 21122
 ACCOUNT NO.                                                                                                                                                                                                 139.00
 Gold Key Credit                                                                        Medical Services
 625 US Highway 1
 Key West, FL 33040



 ACCOUNT NO.                                                                                                                                                                                                  64.00
 Suburban EKG                                                                           Medical Services
 c/o Commonwealth Info Services
 PO Box 6610
 Newport News, VA 23606-0610


 ACCOUNT NO.       851592                                                                                                                                                                                    935.00
 Verizon Wireless                                                                       Telephone Services
 7600 Montpelier Road
 Laurel, MD 20723




Sheet no. 1 of 1 continuation sheets attached                                                                                                                                                      $
                                                                                                                                                        Subtotal                                           4,863.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                                                                 $
                                                                                                                                                                 Total                                    11,104.00
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                             Summary of Certain Liabilities and Related Data.)
                                   Case 06-18109              Doc 1        Filed 12/13/06          Page 20 of 41
Form B6G
(10/05)

In re:    Nicholas Allen White                                                                Case No.
                                                                                     ,
                                                          Debtor                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                             NUMBER OF ANY GOVERNMENT CONTRACT.
                                   Case 06-18109           Doc 1   Filed 12/13/06    Page 21 of 41
Form B6H
(10/05)
In re:    Nicholas Allen White                                                  Case No.
                                                                        ,                             (If known)
                                                         Debtor


                                               SCHEDULE H - CODEBTORS
            Check this box if debtor has no codebtors.




                     NAME AND ADDRESS OF CODEBTOR                                   NAME AND ADDRESS OF CREDITOR
                                       Case 06-18109          Doc 1         Filed 12/13/06              Page 22 of 41
Official Form 6I (10/06)
 In re     Nicholas Allen White                                                     ,
                                                                                                        Case No.
                                                                   Debtor                                                             (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12 or 13 case whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Single
                                                RELATIONSHIP(S):                                                                  AGE(S):


 Employment:                                            DEBTOR                                                       SPOUSE
 Occupation
 Name of Employer

 How long employed
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                         SPOUSE

 1. Monthly gross wages, salary, and commissions
      (Prorate if not paid monthly.)                                                               $                      0.00 $
 2. Estimate monthly overtime                                                                      $                      0.00 $

 3. SUBTOTAL                                                                                       $                     0.00     $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                      $                      0.00 $
                                                                                                   $                      0.00 $
         b. Insurance
         c. Union dues                                                                              $                     0.00 $
         d. Other (Specify)                                                                         $                     0.00 $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                 $                      0.00 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                $                      0.00 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                               $                      0.00 $
 8. Income from real property                                                                      $                      0.00 $
 9. Interest and dividends                                                                         $                      0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                             $                      0.00 $
 11. Social security or other government assistance
 (Specify)                                                                                         $                   648.00 $
 12. Pension or retirement income                                                                  $                      0.00 $
 13. Other monthly income
 (Specify)                                                                                         $                      0.00 $
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                $                  648.00      $

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                  $                   648.00 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                             $ 648.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 NONE
                                      Case 06-18109            Doc 1         Filed 12/13/06           Page 23 of 41
Official Form 6J (10/06)
  In re Nicholas Allen White                                                                                    Case No.
                                                                                     ,
                                                           Debtor                                                                  (If known)


                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Pro rate any payments
 made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                       $                  540.00
      a. Are real estate taxes included?         Yes                      No
       b. Is property insurance included?        Yes                      No
 2. Utilities: a. Electricity and heating fuel                                                                               $                    0.00
               b. Water and sewer                                                                                            $                    0.00
               c. Telephone                                                                                                  $                    0.00
               d. Other                                                                                                      $                    0.00
 3. Home maintenance (repairs and upkeep)                                                                                    $                    0.00
 4. Food                                                                                                                     $                  200.00
 5. Clothing                                                                                                                 $                    0.00
 6. Laundry and dry cleaning                                                                                                 $                    0.00
 7. Medical and dental expenses                                                                                              $                    0.00
 8. Transportation (not including car payments)                                                                              $                    0.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                         $                    0.00
10. Charitable contributions                                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                  a. Homeowner’s or renter’s                                                                                 $                    0.00
                  b. Life                                                                                                    $                    0.00
                  c. Health                                                                                                  $                    0.00
                  d. Auto                                                                                                    $                    0.00
                  e. Other                                                                                                   $                     0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                   $                    0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                      $                    0.00
                  b. Other                                                                                                   $                     0.00
 14. Alimony, maintenance, and support paid to others                                                                        $                    0.00
 15. Payments for support of additional dependents not living at your home                                                   $                    0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                            $                    0.00
 17. Other                                                                                                                   $                     0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                         $                  740.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 648.00
           b. Average monthly expenses from Line 18 above                                                                     $                 740.00
           c. Monthly net income (a. minus b.)                                                                                $                 -92.00
                                     Case 06-18109            Doc 1      Filed 12/13/06   Page 24 of 41


                                                     UNITED STATES BANKRUPTCY COURT
                                                             District of Maryland
In re:      Nicholas Allen White                                                                   Case No.

                                                                                                 Chapter    7

                                             BUSINESS INCOME AND EXPENSES
                 FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business
operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

          1. Gross Income For 12 Months Prior to Filing:                                   $               0.00

PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

          2. Gross Monthly Income:                                                                                 $          0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

          3. Net Employee Payroll (Other Than Debtor)                                      $               0.00
          4. Payroll Taxes                                                                                 0.00
          5. Unemployment Taxes                                                                            0.00
          6. Worker's Compensation                                                                         0.00
          7. Other Taxes                                                                                   0.00
          8. Inventory Purchases (Including raw materials)                                                 0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                        0.00
         10. Rent (Other than debtor's principal residence)                                                0.00
         11. Utilities                                                                                     0.00
         12. Office Expenses and Supplies                                                                  0.00
         13. Repairs and Maintenance                                                                       0.00
         14. Vehicle Expenses                                                                              0.00
         15. Travel and Entertainment                                                                      0.00
         16. Equipment Rental and Leases                                                                   0.00
         17. Legal/Accounting/Other Professional Fees                                                      0.00
         18. Insurance                                                                                     0.00
         19. Employee Benefits (e.g., pension, medical, etc.)                                              0.00
         20. Payments to Be Made Directly By Debtor to Secured Creditors For
                 Pre-Petition Business Debts (Specify):
                 None
         21. Other (Specify):

                 None

         22. Total Monthly Expenses (Add items 3 - 21)                                                             $          0.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

         23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                             $          0.00
                                       Case 06-18109                Doc 1        Filed 12/13/06              Page 25 of 41


Official Form 6 - Summary (10/06)


                                                            United States Bankruptcy Court
                                                                     District of Maryland


In re   Nicholas Allen White                                                            ,                    Case No.
                                                                Debtor
                                                                                                             Chapter      7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E,
and F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data" if
they file a case under chapter 7, 11, or 13.




        NAME OF SCHEDULE                   ATTACHED         NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                             NO                        1        $                   0.00

 B - Personal Property                        YES                        3        $            11,975.00

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                         NO                        1                                     $                     0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                           NO                        2                                     $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        2                                     $               11,104.00
     Nonpriority Claims

 G - Executory Contracts and                   NO                        1
     Unexpired Leases

 H - Codebtors                                 NO                        1

 I - Current Income of                                                                                                                          $              648.00
     Individual Debtor(s)                     YES                        1

 J - Current Expenditures of                  YES                        2
     Individual Debtor(s)                                                                                                                       $              740.00

                                                                       15         $           11,975.00        $              11,104.00
                                    TOTAL
                               Case 06-18109         Doc 1      Filed 12/13/06       Page 26 of 41
Official Form 6 - Statistical Summary (10/06)

                                              United States Bankruptcy Court
                                                    District of Maryland

In re   Nicholas Allen White                                            ,
                                                                                     Case No.
                                                   Debtor                                       7
                                                                                     Chapter

          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


 Type of Liability                                               Amount
 Domestic Support Obligations (from Schedule E)                  $ 0.00
 Taxes and Certain Other Debts Owed to Governmental Units
                                                                $0.00
 (from Schedule E) (whether disputed or undisputed)

 Claims for Death or Personal Injury While Debtor Was            $ 0.00
 Intoxicated (from Schedule E)

 Student Loan Obligations (from Schedule F)                      $ 0.00
 Domestic Support, Separation Agreement, and Divorce
 Decree Obligations Not Reported on Schedule E.                  $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar     $ 0.00
 Obligations (from Schedule F)

                                                   TOTAL         $ 0.00

State the following:

 Average Income (from Schedule I, Line 16)                       $ 0.00
 Average Expenses (from Schedule J, Line 18)                     $ 0.00

 Current Monthly Income (from Form 22A Line 12; OR, Form         $ 0.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF                                  $ 0.00
 ANY” column

 2. Total from Schedule E, “AMOUNT ENTITLED TO                   $ 0.00
 PRIORITY” column.

 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                 $ 0.00
 PRIORITY, IF ANY” column

 4. Total from Schedule F                                                          $ 0.00
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                      $ 0.00
                                     Case 06-18109                  Doc 1         Filed 12/13/06               Page 27 of 41

Official Form 6 - Declaration (10/06)

  In re Nicholas Allen White                                                                 ,                                 Case No.
                                                                Debtor                                                                                     (If known)



                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 17 sheets (total shown on
summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.

Date: 12/13/2006                                                                    Signature: s/ Nicholas Allen White
                                                                                                  Nicholas Allen White
                                                                                                                                Debtor
                                                                                   [If joint case, both spouses must sign]


        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                          (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
                                 Case 06-18109          Doc 1        Filed 12/13/06       Page 28 of 41

Form 7
(10/05)

                                                   UNITED STATES BANKRUPTCY COURT
                                                           District of Maryland

In re:    Nicholas Allen White                                                                 Case No.
                                                                            ,
                                                       Debtor                                                     (If known)




                                           STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None

           State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
           beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
           two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
           the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
           of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
           spouses are separated and a joint petition is not filed.)

           AMOUNT                           SOURCE                                         FISCAL YEAR PERIOD


           2. Income other than from employment or operation of business
None
   
           State the amount of income received by the debtor other than from employment, trade,
           profession, or operation of the debtor's business during the two years immediately preceding the
           commencement of this case. Give particulars. If a joint petition is filed, state income for each
           spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)

           AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD

           17,000.00                          Social Security Disability Services (Backpay - Lump                  2006
                                              Payment)
           3,663.00                           Social Security Disability Services                                  2006

           3. Payments to creditors

           Complete a. or b., as appropriate, and c.
None


           a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
           goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement
           of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less that
           $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
           creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either
           or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)
                                                                DATES OF                             AMOUNT                AMOUNT
           NAME AND ADDRESS OF CREDITOR                         PAYMENTS                             PAID                  STILL OWING
                             Case 06-18109           Doc 1      Filed 12/13/06         Page 29 of 41

Form 7-Cont.
(10/05)

None

         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within
         90 days immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is
         affected by such transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include
         payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
         separated and a joint petition is not filed.)
                                                                                                AMOUNT
                                                         DATES OF                               PAID OR               AMOUNT
                                                         PAYMENTS/                              VALUE OF              STILL
         NAME AND ADDRESS OF CREDITOR                    TRANSFERS                              TRANSFERS             OWING




None

         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
         to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                    DATES OF                                                     AMOUNT
         AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID           STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments
None


         a. List all suits and administrative proceedings to which the debtor is or was a party within one year
         immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
         chapter 13 must include information concerning either or both spouses whether or not a joint petition is
         filed, unless the spouses are separated and a joint petition is not filed.)
         CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
         AND CASE NUMBER                     NATURE OF PROCEEDING              AND LOCATION                          DISPOSITION




         b. Describe all property that has been attached, garnished or seized under any legal or equitable
         process within one year immediately preceding the commencement of this case. (Married debtors
         filing under chapter 12 or chapter 13 must include information concerning property of either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)
None


         NAME AND ADDRESS                                                                 DESCRIPTION
         OF PERSON FOR WHOSE                                   DATE OF                    AND VALUE OF
         BENEFIT PROPERTY WAS SEIZED                           SEIZURE                    PROPERTY
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         5. Repossessions, foreclosures and returns
None

         List all property that has been repossessed by a creditor, sold at a foreclosure sale,
         transferred through a deed in lieu of foreclosure or returned to the seller, within one year
         immediately preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include information concerning property of either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             DATE OF REPOSSESSION,          DESCRIPTION
         NAME AND ADDRESS                                    FORECLOSURE SALE               AND VALUE OF
         OF CREDITOR OR SELLER                               TRANSFER OR RETURN             PROPERTY



         6. Assignments and receiverships
None


         a. Describe any assignment of property for the benefit of creditors made within 120 days
         immediately preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
         is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                            TERMS OF
         NAME AND ADDRESS                                      DATE OF                      ASSIGNMENT
         OF ASSIGNEE                                           ASSIGNMENT                   OR SETTLEMENT



         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
         within one year immediately preceding the commencement of this case. (Married debtors filing
         under chapter 12 or chapter 13 must include information concerning property of either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)
None
                                                  NAME AND ADDRESS                                           DESCRIPTION
         NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
         OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY


         7. Gifts
None

              List all gifts or charitable contributions made within one year immediately preceding the
         commencement of this case except ordinary and usual gifts to family members aggregating less
         than $200 in value per individual family member and charitable contributions aggregating less
         than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
         or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
         are separated and a joint petition is not filed.)

         NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
         OF PERSON                                TO DEBTOR,                    DATE                         AND VALUE OF
         OR ORGANIZATION                          IF ANY                        OF GIFT                      GIFT
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Form 7-Cont.
(10/05)

         8. Losses

None

         List all losses from fire, theft, other casualty or gambling within one year immediately preceding
         the commencement of this case or since the commencement of this case. (Married debtors filing
         under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
         joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
         AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                        DATE OF
         PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                              LOSS

         9. Payments related to debt counseling or bankruptcy
None          List all payments made or property transferred by or on behalf of the debtor to any persons,
        including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
         or preparation of a petition in bankruptcy within one year immediately preceding the commencement
         of this case.
         NAME AND ADDRESS                                       DATE OF PAYMENT,             AMOUNT OF MONEY OR
         OF PAYEE                                               NAME OF PAYOR IF             DESCRIPTION AND VALUE
                                                                OTHER THAN DEBTOR            OF PROPERTY
         Barkley & Kennedy, Chartered                           10/31/06; Elizabeth           $1,500.00 - fees
         51 Monroe Street, Suite 1407                           White
         Rockville, MD 20850


         10. Other transfers
None

         a. List all other property, other than property transferred in the ordinary course of the business or
         financial affairs of the debtor, transferred either absolutely or as security within two years
         immediately preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
         filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                     DESCRIBE PROPERTY
         NAME AND ADDRESS OF TRANSFEREE,                                                             TRANSFERRED
         RELATIONSHIP TO DEBTOR                                 DATE                                 AND VALUE RECEIVED




None


         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
         to a self-settled trust or similar device of which the debtor is a beneficiary.

         NAME OF TRUST OR OTHER                                 DATE(S) OF                           AMOUNT OF MONEY OR DESCRIPTION
         DEVICE                                                 TRANSFER(S)                          AND VALUE OF PROPERTY OR DEBTOR'S
                                                                                                     INTEREST IN PROPERTY
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Form 7-Cont.
(10/05)

         11. Closed financial accounts
None

         List all financial accounts and instruments held in the name of the debtor or for the benefit of
         the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
         the commencement of this case. Include checking, savings, or other financial accounts,
         certificates of deposit, or other instruments; shares and share accounts held in banks, credit
         unions, pension funds, cooperatives, associations, brokerage houses and other financial
         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning accounts or instruments held by or for either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               TYPE OF ACCOUNT, LAST FOUR          AMOUNT AND
         NAME AND ADDRESS                                      DIGITS OF ACCOUNT NUMBER,           DATE OF SALE
         OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE         OR CLOSING


         12. Safe deposit boxes
None

         List each safe deposit or other box or depository in which the debtor has or had securities,
         cash, or other valuables within one year immediately preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
         or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
         joint petition is not filed.)

         NAME AND ADDRESS                        NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
         OF BANK OR                              OF THOSE WITH ACCESS               OF                            OR SURRENDER,
         OTHER DEPOSITORY                        TO BOX OR DEPOSITORY               CONTENTS                      IF ANY


         13. Setoffs
None

         List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
         within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include information concerning either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF                                      AMOUNT OF
         NAME AND ADDRESS OF CREDITOR                                   SETOFF                                       SETOFF


         14. Property held for another person
None

         List all property owned by another person that the debtor holds or controls.
         NAME AND ADDRESS                                      DESCRIPTION AND VALUE
         OF OWNER                                              OF PROPERTY                         LOCATION OF PROPERTY


         15. Prior address of debtor
None     If the debtor has moved within three years immediately preceding the commencement of this case, list all
        premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
         joint petition is filed, report also any separate address of either spouse.
         ADDRESS                                                        NAME USED                              DATES OF OCCUPANCY

         4225 East West Highway                                         Nicholas Allen White                   Fall 2004 - June 2006
         Bethesda, MD
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Form 7-Cont.
(10/05)

          16. Spouses and Former Spouses
None

          If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
          California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
          immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
          who resides or resided with the debtor in the community property state.
          NAME



         17. Environmental Information.
         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
         hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
         including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
         formerly owned or operated by the debtor, including, but not limited to, disposal sites.

         "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
         hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

         a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
         that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
         date of the notice, and, if known, the Environmental Law.
None

         SITE NAME AND                              NAME AND ADDRESS                   DATE OF                     ENVIRONMENTAL
         ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                      LAW




          b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
          Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

None

          SITE NAME AND                       NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
          ADDRESS                             OF GOVERNMENTAL UNIT                 NOTICE                 LAW




          c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
          respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding, and the docket number.
None

          NAME AND ADDRESS                          DOCKET NUMBER                                    STATUS OR
          OF GOVERNMENTAL UNIT                                                                       DISPOSITION
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Form 7-Cont.
(10/05)

         18. Nature, location and name of business
None

         a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
         executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
         other activity either full- or part-time within the six years immediately preceding the commencement of this case,
         or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
         preceding the commencement of this case.

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
         the voting or equity securities, within the six years immediately preceding the commencement of this case.

         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
         beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
         equity securities within the six years immediately preceding the commencement of this case.
                                   LAST FOUR DIGITS
                                   OF SOC. SEC. NO./
         NAME                      COMPLETE EIN OR         ADDRESS                        NATURE OF BUSINESS        BEGINNING AND ENDING
                                   OTHER TAXPAYER                                                                   DATES
                                   I.D. NO.


         b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
         U.S.C. § 101.
None

         NAME                                                                      ADDRESS




                                                                  * * * * * *


    [if completed by an individual or individual and spouse]
    I declare under penalty of perjury that I have read the answers contained in the foregoing statement
    of financial affairs and any attachments thereto and that they are true and correct.

     Date 12/13/2006                                          Signature    s/ Nicholas Allen White
                                                              of Debtor    Nicholas Allen White
                                     Case 06-18109                Doc 1         Filed 12/13/06              Page 35 of 41


Form 8
(10/05)

                                                    UNITED STATES BANKRUPTCY COURT
                                                                  District of Maryland

  In re:    Nicholas Allen White                                                                                    Case No.
                                                                                          ,
                                                                  Debtor                                            Chapter      7


                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
        I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
        I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
        I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:



                                                                                                                    Property will        Debt will be
                                                                                               Property             be redeemed          reaffirmed
 Description of Secured                    Creditor's                       Property will be   is claimed
 Property                                  Name                             Surrendered                             pursuant to          pursuant to
                                                                                               as exempt            11 U.S.C. § 722      11 U.S.C. § 524(c)

     None




                                                                             Lease will be
Description of Leased                       Lessor's                         assumed pursuant
Property                                    Name                             to 11 U.S.C. §
                                                                             362(h)(1)(A)
              None


Date:       12/13/2006                                                                            s/ Nicholas Allen White
                                                                                                   Signature of Debtor
                     Case 06-18109           Doc 1       Filed 12/13/06        Page 36 of 41
Form B1, Exhibit C
(9/01)


                               UNITED STATES BANKRUPTCY COURT
                                       District of Maryland



                                                    Exhibit "C"


          [If, to the best of the debtor's knowledge, the debtor owns or has possession of property
 that poses or is alleged to pose a threat of imminent and identifiable harm to the public health or
safety, attach this Exhibit "C" to the petition.]


In re:    Nicholas Allen White                                                              Case No.:

                                                                                            Chapter:     7

                               Debtor(s)

                                        Exhibit "C" to Voluntary Petition



         1. Identify and briefly describe all real or personal property owned by or in possession of
the debtor that, to the best of the debtor's knowledge, poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety (attach additional sheets if necessary):




         2. With respect to each parcel of real property or item of personal property identified in
question 1, describe the nature and location of the dangerous condition, whether environmental
or otherwise, that poses or is alleged to pose a threat of imminent and identifiable harm to the
public health or safety (attach additional sheets if necessary):
                              Case 06-18109            Doc 1        Filed 12/13/06          Page 37 of 41

Official Form 23 (10/06)
                                           UNITED STATES BANKRUPTCY COURT
                                                   District of Maryland


In re Nicholas Allen White                                         ,            Case No.

                                                  Debtor                         Chapter 7

           DEBTOR'S CERTIFICATION OF COMPLETION OF INSTRUCTIONAL COURSE CONCERNING
                                PERSONAL FINANCIAL MANAGEMENT

                Every individual debtor in a chapter 7 or chapter 13 case must file this certification. If a joint petition is filed,
        each spouse must complete and file a separate certification. Complete one of the following statements and file by
        the deadline stated below:


                      I,                                                                    , the debtor in the above-styled
                                        (Printed Name of Debtor)
        case hereby certify that on                          (Date), I completed an instructional course in personal
        financial management provided by
                                                                         (Name of Provider)
        an approved personal financial management provider.

                 Certificate No.:


                      I,                                                                 , the debtor in the above-styled case,
                         (Printed Name of Debtor)
        hereby certify that no personal financial management course is required, because of [Check the appropriate box.]:
                           Incapacity or disability, as defined in 11 U.S.C. § 109(h)
                           Active military duty in a military combat zone; or
                           Residence in a district in which the United States trustee (or bankruptcy administrator) has
        determined that the approved instructional courses are not adequate at this time to serve the additional individuals
        who would otherwise be required to complete such courses.


        Signature of Debtor: s/ Nicholas Allen White
                             Nicholas Allen White

        Date: 12/13/2006



        Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed.
        R. Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit
        counseling provider and do NOT include with the petition when filing your case.

        Filing Deadlines: In a chapter 7 case, file within 45 days of the first date set for the meeting of creditors under § 341
        of the Bankruptcy Code. In a chapter 13 case, file no later than the last payment made by the debtor as required by
        the plan or the filing of a motion for entry of a discharge under § 1328(b) of the Code. (See Fed. R. Bankr. P.
        1007(c).)
                                Case 06-18109              Doc 1    Filed 12/13/06         Page 38 of 41

Official Form 24
(10/05)

                                            UNITED STATES BANKRUPTCY COURT
                                                    District of Maryland

In re Nicholas Allen White                                                      Case No.
                                                                    ,
                                                  Debtor                        Chapter    7


                                             CERTIFICATION TO COURT OF APPEALS
                                                       BY ALL PARTIES

          A notice of appeal having been filed in the above-styled matter on _____________, ________________________,
________________________, and ________________________, [Names of all the appellants and all the appellees, if any], who
are all the appellants [and all the appellees] hereby certify to the court under 28 U.S.C. § 158(d)(2)(A) that a circumstance specified
in 28 U.S.C. § 158(d)(2) exists as stated below.


           Leave to appeal in this matter    is    is not required under 28 U.S.C. § 158(a).
           [The certification shall contain one or more of the following statements, as is appropriate to the circumstances.]


                                                                        Or

                                                                        Or


           [The parties may include or attach the information specified in Rule 8003(f)(3)(C).]
                              Case 06-18109         Doc 1      Filed 12/13/06        Page 39 of 41

Official Form 24, Cont'd.                                                                                        Page 2



Signed: [If there are more than two signatories, all must sign and provide the information requested below. Attach additional signed
sheets if needed.]

Brian E. Barkley
Attorney for Appellant (or Appellant,
if not represented by an attorney)

Brian E. Barkley
Printed Name of Signer

51 Monroe Street, Suite 1407
Rockville, Maryland 20850
Address

301-251-6600
Telephone No.

12/13/2006
Date
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    B 201 (04/09/06)

                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF MARYLAND


                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
                 In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
    credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
    you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
    all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
    not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
    you decide to file a petition. Court employees cannot give you legal advice.
    1. Services Available from Credit Counseling Agencies
             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses.


    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
              2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
              3. After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
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B 201                                                                                                                    Page 2

    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                             Certificate of Attorney

               I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

Brian E. Barkley                                                                Brian E. Barkley                  12/13/2006
Printed Name of Attorney                                                        Signature of Attorney                        Date

Address:
Barkley & Kennedy, Chartered
51 Monroe Street, Suite 1407
Rockville, Maryland 20850


301-251-6600

                                                           Certificate of the Debtor
    I , the debtor, affirm that I have received and read this notice.
Nicholas Allen White                                                    X s/ Nicholas Allen White                 12/13/2006
Printed Name of Debtor                                                    Nicholas Allen White
                                                                         Signature of Debtor                          Date
Case No. (if known)
